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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

DIANA MEY, individually and
on behalf of all others
similarly situated,

             Plaintiff,

v.                                   Case No: 2:15-cv-463-FtM-99MRM

ENTERPRISE FINANCIAL GROUP,
INC., a Texas corporation
and     NATIONAL      REPAIR
PROTECTION, LLC, a Florida
limited liability company,

             Defendants.


                                   ORDER

      This matter comes before the Court on plaintiff and defendant

Enterprise Financial Group, Inc.'s Stipulation of Dismissal With

Prejudice (Doc. #104) filed on May 9, 2017.             The parties have

reached an agreement for the dismissal of the case and state that

the Stipulation “disposes of the entire action.”         Normally, a case

is deemed dismissed upon the filing of such a stipulation, Anago

Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012),

however plaintiff does not explicitly and voluntarily dismiss

defendant National Repair Protection, LLC 1, and this defendant did

not join the stipulation.


      1   A Clerk’s Entry of Default was issued on November 8, 2016.
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      On January 5, 2017, plaintiff was provided an extension of

time to file a Motion for Default Judgment against defendant

National Repair Protection, LLC to 30 days “after entry of any

order resolving all motions for summary judgment or thirty (30)

days after expiration of the dispositive motion filing deadline if

no motion for summary judgment is filed.”                         (Doc. #90.)      The

current dispositive motion deadline is October 5, 2017.                          (Doc.

#88.)     In light of the stipulation for dismissal, and assuming

plaintiff     will      continue    the       case    against      National     Repair

Protection, LLC, the time period to file a motion for default

judgment will be shortened.

      Accordingly, it is hereby

      ORDERED:

      1. Based     on   plaintiff       and   Defendant     Enterprise       Financial

          Group, Inc.'s Stipulation of Dismissal With Prejudice (Doc.

          #104),     the   case    is    deemed      dismissed    as    to   defendant

          Enterprise       Financial     Group,      Inc.   and   the   Clerk   shall

          terminate all deadlines and this defendant on the docket.

        2. Plaintiff shall file a motion for default judgment, or a

          notice of voluntary dismissal, within TWENTY-ONE (21) DAYS

          of this Order.       The failure to exercise one of these two



(Doc. #70.)




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         options will result in the closure of the case for failure

         to prosecute and without further notice.

      DONE and ORDERED at Fort Myers, Florida, this             10th    day

of May, 2017.




Copies:
Counsel of Record




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